Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 1 of 13 Pageid#:
                                  16818



                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division



  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, JOHN DOE, and THOMAS
  BAKER,

                            Plaintiffs,    Civil Action No. 3:17-cv-00072-NKM

   v.

   JASON KESSLER, et al.,

                            Defendants.




        PLAINTIFFS’ RESPONSE TO MOTION FOR WRIT OF HABEAS CORPUS
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 2 of 13 Pageid#:
                                  16819



                                          INTRODUCTION

         The Court should deny Defendant James Alex Fields, Jr.’s motion for a writ of habeas

 corpus to attend trial in person. Moreover, as explained in Plaintiffs’ motion for sanctions

 against Fields (ECF No. 1003), the Court should instruct the jury that Fields is not permitted to

 testify as a court-ordered sanction for his refusal to comply with this Court’s orders and

 discovery obligations, including Fields’s refusal to testify in a deposition. Further (and this may

 be the subject of a motion in limine), it would be impermissible for defense counsel to argue that

 Fields should not be held responsible for his egregious conduct because he has been “punished

 enough” in his criminal cases. Fields must not be permitted to manipulate the trial and this Court

 by obstructing Plaintiffs’ case and picking and choosing which rules and Court orders he wishes

 to follow and at which stages of this litigation he will or will not participate.

         For four years, Fields has consistently refused to participate in this case. He has failed to

 cooperate with Plaintiffs, with the Court, and even with his counsel. He has violated the Court’s

 discovery orders, improperly asserted the Fifth Amendment to stonewall Plaintiffs’ discovery

 efforts, destroyed evidence, and refused to testify at a deposition. Now, at the eleventh hour,

 Fields asks this Court to transport him hundreds of miles at the taxpayers’ expense to put on a

 show for the jury at trial. Fields does not plan to testify (nor should he be permitted to do so

 given his refusal to testify at his deposition), and he cannot seriously argue that he will

 meaningfully participate, his counsel having recently sought appointment of a guardian ad litem

 because Fields was allegedly unable to communicate effectively with counsel. Plainly, Fields

 wants to appear at trial to serve as a “visceral reminder” that he has been incarcerated for the

 conduct at issue and therefore improperly influence the jury to show him leniency in this civil

 case.
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 3 of 13 Pageid#:
                                  16820



         The Court should deny Fields’s request. First, the reasons that Fields offers to justify his

 request to be transported to trial are legally insufficient and reveal that Fields intends to use his

 attendance to make an impermissible argument to the jury. This cannot and does not outweigh

 the security and expense issues posed by transporting Fields from Springfield Prison Medical

 Center in Missouri to Charlottesville, Virginia and detaining him in Charlottesville for weeks

 while the trial is pending.

         Second, if the Court were to find that Fields should be allowed to attend trial, it would be

 more efficient and cost-effective for Fields to attend via videoconference, as the Court has

 recently confirmed it has the technical capability to do.

         Finally, regardless of whether the Court allows Fields to attend, either in person or via

 video, Plaintiffs urge the Court to instruct the jury that Fields is not permitted to testify as a

 court-ordered sanction for his refusal to comply with discovery obligations and court orders,

 including his refusal to testify in a deposition. Plaintiffs also reserve the right to ask the Court in

 a motion in limine to prohibit defense counsel from arguing that Fields should not be found

 liable in this civil case because he is already being punished for his criminal conduct and to give

 the jury an instruction that it cannot infer from Fields’s punishment in his criminal cases that he

 is in some way deserving of leniency here. These instructions would be essential to mitigate the

 prejudice to Plaintiffs caused by Fields’s extensive misconduct.

                                             ARGUMENT

 I.      THIS COURT SHOULD NOT PERMIT FIELDS TO ATTEND THE TRIAL

         Fields’s Motion fails to justify his attendance at trial. As Fields concedes, incarcerated

 persons do not have an absolute right to be present at the trial of civil claims against them. See,
                                                        2
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 4 of 13 Pageid#:
                                  16821



 e.g., Price v. Johnston, 334 U.S. 266, 285-86 (1948), overruled on other grounds by McCleskey v.

 Zant, 499 U.S. 467 (1991). The Fourth Circuit has set forth three factors for determining whether

 an incarcerated litigant should be permitted to attend trial in person:

          (1) Whether the prisoner’s presence will substantially further the resolution of the
          case, and whether alternative ways of proceeding, such as trial on depositions, offer
          an acceptable alternative.

          (2) The expense and potential security risk entailed in transporting and holding the
          prisoner in custody for the duration of the trial.

          (3) The likelihood that a stay pending the prisoner’s release will prejudice his
          opportunity to present his claim, or the defendant’s right to a speedy resolution of
          the claim.

 Muhammad v. Warden, Baltimore City Jail, 849 F.2d 107, 111-12 (4th Cir. 1988). All relevant

 factors weigh heavily against permitting Fields to attend the trial.

          First, Fields’s presence will not further the resolution of this matter. Over the past four

 years, Fields has done everything in his power to obstruct the resolution of this case: He has

 failed to respond to Plaintiffs’ discovery requests, improperly asserted the Fifth Amendment to

 avoid responding to discovery, destroyed communications with co-Defendants, violated Court

 orders directing him to sign Stored Communications Act consents so Plaintiffs could obtain his

 social media, and refused to testify in a deposition. See generally ECF No. 1003 (“Motion for

 Sanctions”).1 In fact, Fields admits that he is not requesting attendance so he can testify. ECF

 1002-1, p. 3. And his suggestion in passing that he might need to communicate with his counsel

 during trial is not credible. See id. He has refused and failed to participate meaningfully in this

 case from the outset, and his counsel recently filed a motion seeking the Court’s assistance


          1
            This Court should not allow Fields to be called as a rebuttal witness for the reasons set forth in the Motion
 for Sanctions regarding why the Court should preclude Fields from testifying at trial. See ECF No. 1003, pp. 11-20.
                                                                 3
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 5 of 13 Pageid#:
                                  16822



 because counsel could not communicate effectively with Fields, stating that “Fields does not

 believe counsel is who we say we are” and that he “reported visual and auditory hallucinations,”

 such that his counsel did not believe that he could participate in a deposition. ECF No. 926-1, p.

 2.

          Fields’s Motion is transparent: his motive to appear is to impermissibly garner the

 sympathy of the jury as a “visceral reminder” that he has already been punished for the acts

 alleged in this case. ECF No. 1002-1, p. 3. Although it is typically the party who would appear

 in restraints at trial who argues that using a party’s appearance of being incarcerated to sway the

 jury would “undermine the fairness of the factfinding process,” Davidson v. Riley, 44 F.3d 1118,

 1122 (2d Cir. 1995),2 the same prejudice principle applies here, where Fields’s motive for

 attending trial is to prejudice the Plaintiffs by garnering sympathy for himself. Plainly, Fields’s

 in-person attendance will do nothing to further the proper resolution of this case.

          Second, to use Fields’s own words, the security considerations associated with

 transporting Fields to Charlottesville will be “admittedly onerous” and will require Fields to

 “remain in custody the entire time” he is present at trial. ECF 1002-1, p. 3. Fields will need to

 be transported almost 1,000 miles from his current place of incarceration in Missouri to

 Charlottesville. He will then need adequate security in a new facility, as well as security to and

 from the courthouse and within the courtroom during trial. Based on the current trial schedule,

 the Bureau of Prisons may be required to provide Fields with new accommodations for more


          2
             See also Lemons v. Skidmore, 985 F.2d 354, 356 (7th Cir. 1993) (reversing where a magistrate judge
 failed to minimize the prejudice from a defendant appearing in restraints); Holloway v. Alexander, 957 F.2d 529,
 530 (8th Cir. 1992) (Prejudice from a party’s appearance in shackles should be mitigated through cautionary
 instructions.); Tyars v. Finner, 709 F.2d 1274, 1285 (9th Cir. 1983) (finding “inherent” prejudice where a party to a
 civil case is exhibited in physical restraints).
                                                               4
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 6 of 13 Pageid#:
                                  16823



 than four weeks. Fields’s motion makes no reference to how much this accommodation may

 cost the taxpayers, although he does note that he lacks the “financial wherewithal to bear the cost

 of his transportation expenses.” ECF No. 1002-1, p. 2.

         Fields also fails to address the risks associated with the current uptick in COVID-19

 cases, and he does not address the additional risk to everyone involved in this litigation of him

 attending trial after traveling and being housed in multiple prison facilities. The parties and the

 Court have been carefully monitoring COVID-19 and the safety precautions needed to allow this

 trial to proceed while preserving the safety of jurors, parties, witnesses, court personnel, and

 counsel. Fields’s attendance adds an additional level of complication. In short, the security risks

 and expense associated with transporting, housing, and protecting Fields and everyone around

 him for the duration of the trial weigh heavily against granting the Motion.

         Finally, a stay pending Fields’s release is not a viable alternative. Plaintiffs agree with

 Fields that “[t]here is no possibility to delay the trial until Fields’ release, as he is serving life in

 prison.” ECF 1002-1, p. 3.

 II.     IF THE COURT WERE TO PERMIT FIELDS TO ATTEND TRIAL, IT SHOULD
         IMPOSE STRICT CONDITIONS AND ISSUE INSTRUCTIONS TO THE JURY
         AND COUNSEL

         The Court should not permit Fields to attend trial, but if he were permitted to attend, (a)

 he should only be permitted to attend remotely, and (b) the Court should instruct the jury that

 Fields is not testifying because he is not permitted to testify as a court-ordered sanction for his

 refusal to comply with discovery obligations and court orders, including his refusal to testify in a

 deposition. In addition, Plaintiffs reserve the right to file a motion in limine seeking a ruling that



                                                         5
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 7 of 13 Pageid#:
                                  16824



 defense counsel is not permitted to argue that Fields should be excused for his conduct because

 he has been “punished enough” in his criminal cases.

         The most reasonable method of permitting Fields to attend trial – if he were permitted to

 attend at all – would be by videoconference, telephone, or some other electronic means. This

 Court has previously found that video conferencing is an acceptable alternative for an

 incarcerated party to being physically present at trial where (a) there will be “no difficulty in the

 effective presentation of all of the facts and contentions through video conferencing”; (b) the

 estimated expense “is substantial as compared with the cost of video conferencing”; (c) video

 conferencing would “alleviat[e] much of the cost and considerable security risks”; and (d) the

 incarcerated party is not expected to be paroled within the next ten years. Edwards v. Logan, 38

 F. Supp. 2d 463, 467 (W.D. Va. 1999). Indeed, federal courts around the country routinely rely

 on videoconferencing to allow incarcerated parties in civil actions to attend trial. E.g. Vaughan

 v. Sposato, 2013 WL 5774880, at *3 (E.D.N.Y. 2013) (“Thus, with respect to incarcerated

 plaintiffs, courts are increasingly looking to videoconferencing as a viable alternative to live

 testimony.” (internal quotes omitted)); Perotti v. Quinones, 2013 WL 4008188, at *5 (S.D. Ind.

 2013), aff’d sub nom. Perotti v. Quinones, 790 F.3d 712 (7th Cir. 2015) (“The use of

 videoconferencing technology presents a reasonable alternative to [a party’s] presence at court

 and strikes a proper balance between [the party’s] interests and the countervailing concerns

 raised relating to cost and security associated with producing the plaintiff at trial.”); Ortiz v.

 Burnias, 2012 WL 3237161, at *1 (D. Ariz. 2012) ( “[P]articipation by telephone or

 videoconference would lessen the risk that the jury would be prejudiced or misled by in-court

 indications of plaintiff's high security status.”).
                                                        6
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 8 of 13 Pageid#:
                                  16825



         Even this approach would be prejudicial to Plaintiffs, however, and should be combined

 with appropriate instructions. Fields has claimed, among other reasons, that his presence at trial

 is necessary: 1) in the event that “he may be called as a rebuttal witness,” and 2) so that his

 appearance might “weigh on a jury being asked to punish him further at the conclusion of the

 case.” ECF 1002-1, pp. 2-3. Not only are both rationales inadequate justifications for Fields to

 attend trial (addressed above), but they also raise serious concerns about improper arguments to

 the jury and prejudice to the Plaintiffs. In light of these arguments, Plaintiffs respectfully

 suggest that they are entitled to specific instructions.

         First, regardless of whether Fields attends the trial, Plaintiffs request that the Court

 instruct the jury that Fields is not permitted to testify. On August 11, 2021, Plaintiffs filed a

 motion for sanctions requesting, among other things, that the Court prohibit Fields from

 testifying because he has failed to provide substantial discovery, including refusing to testify at a

 deposition. See ECF No. 1003, pp. 11-20. Thus, an instruction explaining to the jury that Fields

 is not testifying because he is prohibited from doing so as a sanction for refusing to provide

 discovery is critical. This is true regardless of whether Fields attends trial, because the jury

 should not be left to infer – or, worse, Defendants should not be permitted to argue – that

 Plaintiffs are not calling Fields to testify for any reason other than his misconduct. Fields must

 not be permitted to benefit from his own refusal to provide discovery, including testimony in a

 deposition. Such an instruction is the only way to mitigate Fields’s misconduct, regardless of

 whether he is permitted to attend the trial.

         Second, Plaintiffs request that, if Fields is permitted to attend trial in any format, the

 Court instruct the jury that it cannot infer from Fields’s physical appearance or his punishment in
                                                        7
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 9 of 13 Pageid#:
                                  16826



 his criminal cases that he is in some way deserving of leniency here. Courts have long

 “recognized that the criminal charge and the civil action, though founded on the same facts, are

 distinct remedies, prosecuted by different parties and for different purposes.” Grochowski v.

 Dewitt-Rickards, 928 F.2d 399, at *2 (4th Cir. 1991) (internal quotes omitted). Whatever

 punishment Fields may have received in criminal court as a result of his actions does nothing to

 lessen his liability to the Plaintiffs in this case; they have yet to have their day in court. The law

 allows Fields to be held liable both civilly and criminally for his actions.

        Finally, and for the same reasons, Plaintiffs reserve the right to file a motion in limine

 asking the Court to instruct all defense counsel that any argument to the jury for leniency based

 on Fields’s punishment in his criminal cases is impermissible. This is one of the stated rationales

 counsel has offered in the instant Motion to attempt to justify Fields’s physical presence at trial,

 and it should not be permitted.

                                           CONCLUSION

        For the foregoing reasons, the Court should deny Defendant Fields’s Motion to attend

 trial in person or, if he is permitted to attend in any format, issue appropriate instructions to the

 jury and counsel.




                                                        8
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 10 of 13 Pageid#:
                                  16827



 Dated: August 12, 2021                  Respectfully submitted,

                                         /s/ David E. Mills
                                         David E. Mills (pro hac vice)
                                         Joshua M. Siegel (VSB 73416)
                                         Caitlin B. Munley (pro hac vice)
                                         Samantha A Strauss (pro hac vice)
                                         COOLEY LLP
                                         1299 Pennsylvania Avenue, NW
                                         Suite 700
                                         Washington, DC 20004
                                         Telephone: (202) 842-7800
                                         Fax: (202) 842-7899
                                         dmills@cooley.com
                                         jsiegel@cooley.com
                                         cmunley@cooley.com
                                         sastrauss@cooley.com




                                         9
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 11 of 13 Pageid#:
                                  16828



 Of Counsel:

  Roberta A. Kaplan (pro hac vice)     Karen L. Dunn (pro hac vice)
  Julie E. Fink (pro hac vice)         William A. Isaacson (pro hac vice)
  Gabrielle E. Tenzer (pro hac vice)   Jessica E. Phillips (pro hac vice)
  Joshua A. Matz (pro hac vice)        PAUL WEISS RIFKIND WHARTON &
  Michael L. Bloch (pro hac vice)      GARRISON LLP
  Emily C. Cole (pro hac vice)         2001 K Street, NW
  Alexandra K. Conlon (pro hac vice)   Washington, DC 20006-1047
  Jonathan R. Kay (pro hac vice)       Telephone: (202) 223-7300
  Benjamin D. White (pro hac vice)     Fax: (202) 223-7420
  Yotam Barkai (pro hac vice)          kdunn@paulweiss.com
  KAPLAN HECKER & FINK, LLP            wisaacson@paulweiss.com
  350 Fifth Avenue, Suite 7110         jphillips@paulweiss.com
  New York, NY 10118
  Telephone: (212) 763-0883            Katherine M. Cheng (pro hac vice)
  rkaplan@kaplanhecker.com             BOIES SCHILLER FLEXNER LLP
  jfink@kaplanhecker.com               55 Hudson Yards, 20th Floor
  gtenzer@kaplanhecker.com             New York, NY 10001
  jmatz@kaplanhecker.com               Telephone: (212) 446-2300
  mbloch@kaplanhecker.com              Fax: (212) 446-2350
  ecole@kaplanhecker.com               kcheng@bsfllp.com
  aconlon@kaplanhecker.com
  jkay@kaplanhecker.com                Robert T. Cahill (VSB 38562)
  bwhite@kaplanhecker.com              COOLEY LLP
  ybarkai@kaplanhecker.com             11951 Freedom Drive, 14th Floor
                                       Reston, VA 20190-5656
  Alan Levine (pro hac vice)           Telephone: (703) 456-8000
  Daniel P. Roy III (pro hac vice)     Fax: (703) 456-8100
  Amanda L. Liverzani (pro hac vice)   rcahill@cooley.com
  COOLEY LLP
  55 Hudson Yards                      J. Benjamin Rottenborn (VSB No. 84796)
  New York, NY 10001                   Woods Rogers PLC
  Telephone: (212) 479-6260            10 South Jefferson Street, Suite 1400
  Fax: (212) 479-6275                  Roanoke, Va. 24011
  alevine@cooley.com                   Tel: (540) 983-7600
  droy@cooley.com                      Fax: (540) 983-7711
  aliverzani@cooley.com                brottenborn@woodsrogers.com


                                       Counsel for Plaintiffs




                                        10
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 12 of 13 Pageid#:
                                  16829



                                      CERTIFICATE OF SERVICE

        I hereby certify that on August 12, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt                               James E. Kolenich
  David L. Hauck                                        Kolenich Law Office
  David L. Campbell                                     9435 Waterstone Blvd. #140
  Duane, Hauck, Davis & Gravatt, P.C.                   Cincinnati, OH 45249
  100 West Franklin Street, Suite 100                   jek318@gmail.com
  Richmond, VA 23220
  jgravatt@dhdglaw.com                                  Bryan Jones
  dhauck@dhdglaw.com                                    106 W. South St., Suite 211
  dcampbell@dhdglaw.com                                 Charlottesville, VA 22902
                                                        bryan@bjoneslegal.com
  Counsel for Defendant James A. Fields, Jr.
                                                        Counsel for Defendants Michael Hill,
  W. Edward ReBrook                                     Michael Tubbs, and League of the South
  The ReBrook Law Office
  6013 Clerkenwell Court                                Elmer Woodard
  Burke, VA 22015                                       5661 US Hwy 29
  edward@rebrooklaw.com                                 Blairs, VA 24527
  rebrooklaw@gmail.com                                  isuecrooks@comcast net

  Counsel for Defendants National Socialist Movement,   Counsel for Defendants Matthew Parrott,
  Nationalist Front and Jeff Schoep                     Traditionalist Worker Party, Jason Kessler, Nathan
                                                        Damigo, and Identity Europa, Inc. (Identity Evropa)



        I hereby certify that on August 12, 2021, I also served the foregoing upon following pro
 se defendants, via electronic mail, as follows:

  Matthew Heimbach                                      Vanguard America
  matthew.w heimbach@gmail.com                          c/o Dillon Hopper
                                                        dillon_hopper@protonmail.com
  Richard Spencer
  richardbspencer@gmail.com                             Elliott Kline
  richardbspencer@icloud.com                            eli.f mosley@gmail.com
                                                        deplorabletruth@gmail.com
  Robert Ray                                            eli.r kline@gmail.com
  azzmador@gmail.com




                                                         11
Case 3:17-cv-00072-NKM-JCH Document 1005 Filed 08/12/21 Page 13 of 13 Pageid#:
                                  16830



        I hereby certify that on August 12, 2021, I also served the foregoing upon following pro
 se defendant, via first class mail, as follows:

 Christopher Cantwell
 Christopher Cantwell 00991-509
 USP Marion
 U.S. Penitentiary
 P.O. Box 2000
 Marion, IL 62959

                                                     /s/ David E. Mills
                                                     David E. Mills (pro hac vice)




 255045646




                                                   12
